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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRIC'I` OF FLORIDA
ORLAND() I)IVISI()N

Debtor(s) David F Moisdon Case No: 6217-bk-()217()-KS]
dba A Bit of Paradise

[# AMENDED (if E_\DDlicahle)l CHAPTER 13 PLAN
CHECK ONE:

Debtor1 certifies that the Plan does not deviate from the model plan adopted by the
Court at the time of the filing of this case. Any nonconforming provisions are deemed stricken

 

X The Plan contains provisions that are specific to this Plan in paragraph 9,
Nonconforming Provisions. Any nonconforming provision not set forth in paragraph 9 is deemed
Stricken.

1. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee's fee of ]O% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to the Trustee
for the period of hM60 months If the Trustee does not retain the full 10%, any portion not
retained will be disbursed to allowed claims receiving payment under the plan and may cause an
increased distribution to the unsecured class of creditors:

(A) $_2067 for months m"gl through _l

(B) $_2500 for months WZ through _23

(C) Sm2300 for months _24 through __60

To pay the following ereditors:

2. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $#7000 Total Paid Prepetition S__{) Balance Due $7000
Estimated Additional Fees Subject to Court Approval $

Attorney’s Fees Payable through Plan S 304 Monthly (subject to adjustment)

 

1 All references to “Debtor” include and refer to both of the debtors in a case filedjointly by two
individuals

 

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3. PRI()RITY CLAIMS (as defined in 11 U.S.C. 8 507).

Last 4 Digits Creditor Total Claim
of Aect No.

 

 

 

4. TRUSTEE FEES. Trustee shall receive a fee from each payment received, the percentage
of Which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-conflrmation payments allocated to secured creditors under the
Plan, other than amounts allocated to cure arrearages, shall be deemed adequate protection
payments

(A) Claims Secured by Real Property Which Debtor lntends to Retain/ Mortgage
Payments and Arrears, if any, Paid through the Plan. If the Plan provides for curing prepetition
arrearages on a mortgage, Debtor Will pay, in addition to all other sums due under the proposed
Plan, all regular monthly postpetition mortgage payments to the Trustee as part cf the Plan. These
mortgage payments, Which may be adjusted up or down as provided for under the loan documents,
are due beginning the first due date after the case is filed and continuing each month thereafter.
The Trustee shall pay the postpetition mortgage payments on the following mortgage claims:

Last 4 Digits Creditor Collateral Reg. Mo. Pmt. Gap Pmt. Arrears
of Acct No. Address

 

 

 

(B) Claims Secured by Real Property/Debtor Intends to Seek l\/Iortgage Modification.
Pending the resolution of a mortgage modification request, Debtor shall make the following
adequate protection payments to the Trustee, calculated at the lesser of 31% of Debtor’s gross
monthly income from all sources listed on Schedule l, minus homeowner association fees or the
normal monthly contractual mortgage payment

Last 4 Digits Creditor Coliateral Pmt. Amt. (at 31% or Contract Amt.)
of Acct. No. Address
5094 Bavview Loan 7735 S US l va, Titusville` FL 32780 $1860 (31%)

 

 

 

 

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(C) Claims Secured by Real Property or Personal Property to Which Seetion 506
Valuation APPLIES. Under li U.S.C. § 1322(b)(2), this provision does not apply to a claim
secured solely by Debtor’s principal residence A separate motion to determine secured status or
to value the collateral must be filed. The secured portion of the claim, estimated below, shall be
paid:

Last 4 Digits Creditor Collateral Claim Amt. Value Pmt. Interest @_%
of Acct No. Desc./Address

 

 

 

(D) Claims Secured by Real Property and/or Personal Property to Which Section
506 Valuation DOES NOT APPLY. Claims of the following secured creditors shall be paid in
full With interest at the rate set forth below as follows:

Last 4 Digits Creditor Collateral Claim Amt. Pmt. Interest @ %
of Acct No. Desc./Address
5897 TMX Finance 1994 GMC Sl,OOU $85.84 5.5%

 

 

 

 

(E) Claims Secured by Personal Property _ Maintaining Regular Payments and
Curing Arrearages, if any, With All Payments in Plan.

Last 4 Digits Creditor Col]ateral Regular Payment Arrearages
of Acct No. I)escription

 

 

 

 

(D Secured Claims/Lease Claims Paid Direct by Debtor. The following secured
claims/lease claims are being made via automatic debit/draft from `Debtor’s depository account
and are to continue to be paid direct to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor as to these creditors and lessors upon the filing of this Plan. Nothing
herein is intended to terminate or abrogate Debtor’s state law contract rights U\lote: The Plan must
provide for the assumption of lease claims that Debtor proposes to pay direct in the
Lease/Executory Contract Section 6 below.)

Last 4 Digits Creditor Property/Collateral
of Acct No.
9163 Countrvwide/Shellpoint Mtg 7765 Highwav 1 S Titusville1 FL 32780

 

 

 

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(G) Liens to be Avoided per 11 U.S.C. § SZZ/Stripped Of`f per 11 U.S.C. § 506. A
separate motion to avoid a lien under § 522 or to determine secured status and to strip a lien
under § 506 must be filed.

Last 4 I)igits Creditor Collateral Description!Address
of Acct No.

 

 

 

(H) Surrender of Collateral/Leased Property. Debtor Will surrender the following
collateral/leased property The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor as to these creditors and lessors upon the filing of this Plan. (Note:

The Plan must provide for the rejection of lease claims in the Lease/Executory Contract section
below.)

Last 4 Digits Creditor Property/Collateral to be
of Acct No. Surrendered
Unknown Aarons Refrigerator

 

 

 

(I) Other Secured Claims. Debtor does not intend to make payments to the following
secured creditors The automatic stay is terminated in rem as to Debtor and in rem and in
personam as to any codebtor with respect to these creditors Debtor’s state law contract rights
and defenses are neither terminated nor abrogated

 

 

 

6. LEASES/EXECUTORY CONTRACTS.

Last 4 Digits Creditor Property AssumefReject-Surrender Est. Arrears
of Acct No.

 

 

 

7. GENERAL UNSECURED CREDITORS. General unsecured creditors With allowed
claims shall receive a pro rata share of the balance of any funds remaining after payments to the
above referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan.
The estimated dividend to unsecured creditors shall be no less than $T5892.15

 

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ADDITIONAL PROVISIONS:

(A) Unless otherwise ordered, secured creditors, whether or not dealt with under the
Plan, shall retain the liens securing such claims:

(B) Payments made to any creditor shall be based upon the amount set forth in the
creditor’ s proof of claim or other amount as allowed by an Order of the Banl<ruptcy
Court.

(C) Property of the estate (check one)"F

(l} shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise; or

(2) shall vest in Debtor upon confirmation of the Plan.

*If Debtor fails to check (l) or (2) above, or if Debtor checks both (l) and (2),
property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise

(D) The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed. The Trustee shall only
pay creditors with filed and allowed proof of claims. An allowed proof of claim
will control, unless the Court orders otherwise

(E) The Debtor may attach a summary or spreadsheet to provide an estimate of
anticipated distributions The actual distributions may vary. lf the summary or
spreadsheet conflicts with this Plan, the provisions of the Plan control prior to
confiiination, after which time the Order Confirming Plan shall control

(F) Debtor shall timely file all tax returns and make all tax payments and deposits when
due. (However, if Debtor is not required to file tax returns, Debtor shall provide
Trustee with a statement to that effect.) For each tax return that becomes due after
the ease is filed, Debtor shall provide a complete copy of the tax return, including
business returns if Debtor owns a business, together with all related W-Zs and Form
1099s, to the Trustee within 14 days of filing the return Unless otherwise ordered
by the Court, Debtor shall turn over to the Trustee all tax refunds iri addition to
regular Plan payments Debtor shall not instruct the lnternal Revenue Service or
other taxing agency to apply a refund to the following year’s tax liability. Debtor
shall spend no tax refunds without prior court approval.

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9. NONCONFORMING PROVISIONS: 550 monthly monitoring fee will be paid to the
Debtor’s Attornev post confirmation

 

 

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
In Re: . Chapter: 13
Case No. 6:l7-bk-02170-KSJ
David F Moisdon
Dba A Bit of Paradise
Debtor (s).

/

CERTIFICATE OF SERVICE FOR CHAPTER 13 PLAN

COMES NOW, the undersigned counsel hereby certifies that copies of the Chapter 13
Plan have been furnished by regular U.S. Mail or electronically via ECF to Laurie K
Weatherford, PO Box 3450, Winter ParkJ FL 32790; United States Trustee, George C Young
Federal Building, 400 West Washington Street, Suite 1100, Orlando, FL 32801_, Debtor David F
l\/Ioisdon, dba A Bit of Paradise, 7785 South US l l-lwy, Titusville, FL 32780; and to all parties

on the attached creditor matrix, this lst of May, 2017.

By: /s/ Wa@e B. Spivak

Wayne B_ Spivak, Esq.

Florida Bar No. 38191

Justin Clark & Associates, PLLC
Attorney for Debtor

500 Winderley Place, Unit 100
l\/Iaitland, FL 32751

Tel: 321-282-1055

Fax: 321-232-105l

Email: wspivak@vouhavepower. com

 

 

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Case 5:11-bk-02170-KSJ
Middle District of Flori.da
Orlando

lion May 1 15:40:00 EDT 201'1l

Aarons
2920 Cheney Hwy
Titusville, FL 32180-5912

Brevard County Tax Collec:tor
Attn: Honorable Lisa Cullen, CFC
Post Office Bex 2500

Titusville E'L 32181-2500

Credit One Bank
P.O. Box 98873
Las Vegas, NV 09193-08'73

Florida Departinent of Revenue
Bankruptcy Unit

Post effice Box 6658
Tallahassee FL 32314-6668

Online Collections
PO Box 1409
Wintezville, NC 20590-1489

Spectrum

c/o Credit Protection Assoc
PD Box 9035

Addison, TX 15001-9035

Laurie lt Weatherford +
Post Office Box 3450
Winter Park, FL 32790-3450

Brian R Kopelowitz +
Kopelowitz Ostrow

One West Las Olas Blvd., Suite 500

Fert Lauderdale, FL 33301-1920

e/o Brian R. Kopelowitz, Esquire
One West Las Olas Boulevard
Suite 500

Fort Lauderdale, FL 33301-1920

Acet Resolution Specialist
PO Box 459/019
Sunrise, FL 33345-9019

Capital One Bank
P.O. Box 11003
Charletter NC 20272-1003

Credit Protection Assoc
PO Box 802068
Dallas, TX 15300-2060

Internal Revenue Service
Post Office Box 1346
Philadelphia PA 19101-7346

Republic Banlc (elastic)
200 S 'Ith St
Lc)iiisviller KT 40202-2’139

TMX Finance of FL

DBA Instaloan

3100 E Colonial Dr
Orlando, FL 32003-5108

limited States Triistee - ORL'l/13 1+
Office of the United States Trustee
George C Young Federal Building

400 test Washington Street, Suite 1100
O:lando, FL 32001-2210

llote: Entries with a r+r at the end of the
name have an email address on file in CMECF

7785 South US 1 Hwy
Titusville, FL 32780-0119

Bayview Loan Serricing, LLC
4425 l?once de leon Blvd., 5th Floor
Coral Gables, FL 33146~1837

Countrywide/Shellpoint Mtg
90 Box 740039
Cincinnati, OH 45274-0039

Debt Free LLC
4131 N Ocean Drive #120
Fort Lauderdale, E'L 33308-2920

Justin Clark & Associates
500 Winderley Pl, Suite 100
Maitland, Fl 32751-7406

Sirn¢o/Associates
800 Pencader Drive
Newarit, DE 19702-3354

tells Fargo Baiik Card
MAC FB2535-02f

P0 Box 10438

Des Moines, IA 50306-0430

Wayne B Spivak +

Attorneys Justin Clark & Associates PLLC
500 Winderley Place, Unit 100

Maitland, E‘L 32751-1406

The following recipients may loe/have been bypassed for notice due to an undeliverable (u) or duplicate (cl) address

 

(u)men Sl Jememann Case 6:17-b|<-02JEI?GO£;§<]§B%l MR£§; 20 Filed 05/01/17 Page 11 of 11

Orlando Mailable recipients 25
Bypassed recipients 1
Total 26

 

